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IN THE UNITED STATES DISTRICT COURT i

WESTERN DISTRICT OF WASHINGTON SEP 06 2013

SEATTLE DIVISION
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AESTERN DISTRICT OF WASHINGTON
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KEITH BELL, Ph.D.

Plaintiff, CIVIL ACTION NO.

CV131620""F

Vv.

FEDERAL WAY PUBLIC SCHOOLS,
PAUL RUSTON and DOES 1-5,

Defendants. JURY TRIAL DEMANDED

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COMPLAINT

 

The Parties
1. Keith Bell, Ph.D. ("Bell") is an individual who maintains his primary business
office and residence at 3101 Mistyglen Circle, Austin, TX 78746, which is within this judicial

district and division.

2. Upon information and belief, Federal Way Public Schools (the "District") is a

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school district organized under the laws of the state of Washington which maintains its primary
offices at 33330 8th Ave South, Federal Way, WA, 98003.

3. Upon information and belief, Paul Ruston (“Ruston”) is an individual employed
by the District to serve as a teacher and athletic coach, maintains a business office at 4248 S

288th Street, Auburn, WA 98001, and is a resident of the state of Washington.

 

4, Upon information and belief, Does 1-5 are individuals employed by the District,

maintain a business office at 4248 S 288th Street, Auburn, WA 98001, and are residents of the

state of Washington.

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Jurisdiction and Venue

5. Upon information and belief, the District serves students in the city of Federal
Way, Washington and surrounding communities (including, Auburn, Washington).

6. Upon information and belief, one of the District’s high schools is Thomas
Jefferson High School (“Thomas Jefferson HS”). Thomas Jefferson HS maintains active
athletic programs, including cross country and track and field teams that participate in distance
running events. Upon information and belief, at all times pertinent hereto, Ruston was a teacher
and distance running coach at Thomas Jefferson HS.

7. Upon information and belief, at all times pertinent hereto, Does 1-5 assisted
Ruston in the fulfillment of his duties as a distance running coach at Thomas Jefferson HS, and
assisted him with copying, adapting, distributing or publicly displaying Bell’s copyrighted Essay
as detailed in paragraphs 22 through 28 below, which are incorporated herein by reference.

8. At various times through at least September 22, 2010, Defendants actively
engaged in the unlawful conduct detailed in paragraphs 22 through 32 below within this judicial
district, which are incorporated herein by reference.

9. By virtue of the foregoing, this Court may exercise personal jurisdiction over the
District, Ruston and Does 1-5.

10. This Court has subject matter jurisdiction over Plaintiffs’ copyright claim

(Count I) under 28 U.S.C. § 1338(a). Venue is proper in this Court pursuant to 28 U.S.C.
§§ 1391 and 1400(a).

 
 

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GENERAL AVERMENTS
Dr. Bell and His Sports Psychology Practice

11. Bell is an internationally recognized sports psychologist (presently retired) and
sports performance consultant. He has worked as a sports psychologist with over 500 teams,
including the U.S., Canadian, Australian, Hong Kong, Fiji, Cayman Islands and New Zealand
Olympic and national teams.

12. In addition to his work with sports teams, Bell speaks at national and international
coaching symposia. Among others, he has been a featured speaker with the American Swim
Coaches Association, Australian Coaches Association, Canadian Coaches Association, the
Japanese Coaches Association, and the British Swim Coaches Association.

13. Further, Bell has authored and had published 10 books and over 80 articles
relating to sports psychology. He has also been a regular columnist for national swimming
publications such as Swimmers, Swimmers Coach, SWIM SWIM, and Swim Texas Magazine.

14. In 1981, Bell wrote the book entitled Winning Isn’t Normal and it was first
published in 1982. The book has enjoyed substantial acclaim, distribution and publicity. A true
and correct copy of selected pages from Winning Isn’t Normal are attached as Exhibit A hereto.

15. Bell has complied with the Copyright Act of 1976, 17 U.S.C. § 101 ef seq., as
amended, securing for himself the exclusive rights and privileges in the copyright in and to
Winning Isn’t Normal.

16. A copyright registration certificate was issued by the United States Copyright
Office for Winning Isn’t Normal on or about September 21, 1989. The Copyright registration

number is TX-0002-6726-44. A true and correct copy of the Certificate of Registration is

attached hereto as Exhibit B.

 
 

 

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17. Upon information and belief, the copyright in and to Winning Isn’t Normal is
valid and subsisting.

18. Winning Isn’t Normal contains the following essay (the “Essay”) authored by Bell
that captures the essence of his book’s message and synthesizes into a short statement the entire
contents of the book:

Winning isn’t normal. That doesn’t mean there’s anything
wrong with winning. It just isn’t the norm. It is highly unusual.

Every race only has one winner. No matter how many people
are entered (not to mention all those who tried and failed to make
the cuts), only one person (or one relay) wins each event.

Winning is unusual. And as such, it requires unusual action.

In order to win, you must do extraordinary things. You can’t
just be one of the crowd. The crowd doesn’t win. You have to be
willing to stand out and act differently.

Your actions need to reflect unusual values and priorities. You
have to value success more than others do. You have to want it
more. (Now take note! Wanting it more is a decision you make and
act upon — not some inherent quality or burning inner drive or
inspiration!) And you have to make that value a priority.

You can’t train like everyone else. You have to train more and

train better.

 
 

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You can’t talk like everyone else. You can’t think like everyone
else. You can’t be too willing to join the crowd, to do what is
expected, to act in a socially accepted manner, to do what’s “in.”

You need to be willing to stand out in the crowd and consis-
tently take exceptional action. If you want to win, you need to
accept the risks and perhaps the loneliness ... because winning
isn’t normal!

19. Whether as part of Winning Isn 1 Normal or as a self-contained work in and of
itself, the Essay has become well-known among sports coaches, sports psychologists,
motivational speakers and others as a powerful statement on the psychological key to winning in
any sporting endeavor.

20. The Essay is and has been licensed by Bell to third parties for reprint in various
publications including print and online media, is and has been sold in the form of motivational
posters and t-shirts, is and has been presented, used and sold by Bell in various professional
seminars and symposia.

21. Bell relies upon his promotion, sale and licensing of the Essay to generate revenue
and to assist him in the generation of consulting and speaking engagements.

Defendants and Their Unlawful Conduct

22. Upon information and belief, without the permission of Bell, the District through
one or more of its employees including Ruston and Does 1-5, used, copied, abridged, distributed
and publicly displayed verbatim or near verbatim copies of the Essay or Winning Isn’t Normal.

23. In particular, the Essay was, upon information and belief, Defendants unlawfully
used, copied, abridged, distributed and publicly displayed in the following ways:

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a. Beginning at least as early as 2002 and continuing through at least

September 22, 2010, the Essay was reprinted verbatim without attribution to Bell in

informational packets, handbooks, handouts or the like (collectively, “Publications”)

printed and distributed to students and their parents at Thomas Jefferson HS; and
b. Beginning at least as early as 2003 and continuing through a date presently
unknown to Bell the Essay was posted on one or more of the District’s internet websites

(collectively, the “District Websites”) for viewing and downloading by students, parents,

faculty, administration, and staff of Thomas Jefferson HS and any other persons who had

access to the District Websites. A true and correct copy of one such website is attached

hereto as Exhibit C;

24. In or about December, 2007, Bell learned that an employee of the District and one
of Ruston’s colleagues, Mr. James Roach (“Roach”), maintained a personal website (blog)
related to distance running located at http://www.jamesroach.net (“the Roach Blog”). Roach was
at that time and remains today an athletic coach at Thomas Jefferson HS. Roach posted the
Essay on the Roach Blog. A true and correct copy of such posting is attached hereto as Exhibit
D. At the time Roach posted the Essay on the Roach Blog, he did not have permission to do so
from Bell.

25. Shortly thereafter, Bell or his designee contacted Roach and informed him that his
unauthorized posting of the Essay on the Roach Blog constituted copyright infringement. Bell or
his designee inquired of Roach as to where he obtained a copy of the Essay; Roach declined to
reveal such source. After several communications, Bell agreed to allow Roach to maintain such

posting, provided that Roach provide attribution to Bell as author of the Essay and provided a
 

 

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link to the publisher of Winning Isn’t Normal, Keel Publications. To the current knowledge of
Bell, Roach complied with Bell’s requirements at that time.

26. Upon information and belief, in or about December, 2007, Roach informed
Ruston about the demand Roach had received from Bell or his designee, including Bell’s
allegation that the unauthorized copying, adaptation, distribution and public display of the Essay
constituted copyright infringement.

27. In December, 2010 or January, 2011, Bell contacted Roach again concerning
modifying the form in which Roach posted the Essay on the Roach Blog. While Roach initially
agreed to undertake the requested modification, shortly thereafter, he unilaterally decided to
remove the Essay from the Roach Blog. To the current knowledge of Bell, he did not repost the
Essay after taking it down. As part of those communications, Roach informed Bell that the
original source of the copy of the Essay was Ruston and that Ruston was using the Essay as part
of the Publications.

28. | Upon information and belief, no later than December, 2007, Ruston was put on
notice that his use, copying, adaptation, distribution and public display of the Essay in the
Publication and on the District Website was unauthorized and constituted copyright
infringement. Despite such knowledge, Defendants did not take any action at that time to cease
the infringing use of the Essay. Therefore, upon information and belief, the continued copying,
adaptation, distribution and public display of the Essay in the Publication and on the District
Website after such notice, constitutes willful, deliberate and knowing copyright infringement by
Defendants or, in the alternative, Defendants infringing actions were the result of reckless

disregard for, or willful blindness to, Bell’s copyright rights.

 
 

 

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COUNT I - COPYRIGHT INFRINGEMENT

29. Bell repeats the allegations of paragraphs 1 through 28 as if fully set forth herein.

30. __ Bell’s cause of action in Count I arises under the Copyright Act of 1976, 17
U.S.C. §§ 101 et seg., as amended, particularly 17 U.S.C. §§ 106(1)-(3) and (5), 501, and 602.

31. | Upon information and belief, Defendants unlawfully copied, abridged, distributed
or publicly displayed the Essay or Winning Isn’t Normal. Such acts have been without the
permission of Bell and constitute infringement of Bell’s copyright in the Essay and Winning Isn't
Normal in derogation of 17 U.S.C. §§ 106(1)-(3) and (5), 501, and 602.

32. Upon information and belief, in or about December, 2007, Defendants continued
to unlawfully use, copy, abridge, distribute or publicly display the Essay with knowledge of
Bell’s claim of copyright in and to the Essay and Winning Isn’t Normal and with knowledge of
Bell’s claim that such actions constituted copyright infringement. Accordingly, such acts have
been without the permission of Bell and constitute willful infringement of Bell’s copyright in the
Essay and Winning Isn’t Normal in derogation of 17 U.S.C. §§ 106(1)-(3) and (5), 501, and 602.

REQUEST FOR JURY TRIAL
33. Plaintiff hereby demands that this cause be tried by a jury.
DEMAND FOR RELIEF
WHEREFORE, Plaintiff demands judgment against Defendants and for relief including:
34, A permanent injunction enjoining Defendants against continuation of the illegal

acts recited above.

35. An award of statutory damages underl7 U.S.C. § 504(c)(1) or (2) as the Court

deems just.

36. An award of punitive or exemplary damages.

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37. An award of costs and, if Bell engages counsel to represent him in this action,
reasonable attorneys’ fees.
38. An award or pre- and post-judgment interest.
39. All other relief as the Court may deem just.
Respectfully submitted,

Keith Bell, Ph.D.
 

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EXHIBIT A.

 

 
 

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by Kirsten Seti

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championships and break world records?

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Winning Isn’t Normal

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EXHIBIT B
 

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CERTIFICATE OF COPYRIGHT REGISTRATION FORM. |

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EXHIBIT C
 

 

 

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EXHIBIT D

 
 

winning Case 2:13-cv-01620-MJP Document1 Filed 09/06/13 Page 20 0f 20 = 1208:1:23 PM
inning

Winning

 

"Winning" Remember one thing... winning isn’t normal. That doesn't mean there is anything wrong with
winning. It just isn't the norm. It is highly unusual.

Every race only has one winner. No matter how many people are entered, only one person or team wins
each event. Winning is unusual. So it requires unusual action. In order to win, you must do extraordinary

things. You can't just be one of the crowd. The crowd doesn't win. You have to be willing to stand out and
~ act differently.

Your actions need to reflect unusual values and priorities. You have to value success more than others do.
You have to want it more! Remember, wanting more is a decision YOU make and act upon. You have to
make your values a top priority. You can't train like everyone else. You can't be like everyone elise. You
have to train more, be willing to be different. ae

You can't talk like everyone else. You can't think like everyone else. You can't be too willing to join the
crowd, to do what is expected, to act in a social manner, to do what's "in". You must be constantly willing
to stand out in the crowd and constantly take exceptional action. If you want to win and be part of a
winning team, you need to accept the risks and perhaps the loneliness...becausé winning isn't normal.

 

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